[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION ON SUMMARY JUDGMENT
Time Square, Inc.'s Motion for Summary Judgment is CT Page 3741 granted because:
1. There is no right of action in negligence against one who furnishes intoxicating liquor to another who becomes intoxicated and causes injury.
2. The accident was April 9, 1987 and the action was brought and served on the third party defendant on November 12, 1990, more than three years after the accident giving rise to the cause of action. Since the action was brought more than two years after the accident it is barred by the two year statute of limitations for action in negligence. Connecticut General Statutes Section 52-584.
HURLEY, JUDGE